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    5
      Attorneys for Defendant
    6 CBS STUDIOS INC.

    7
                                UNITED STATES DISTRICT COURT
    8
                               CENTRAL DISTRICT OF CALIFORNIA
    9

   10

   11 DELRAY RICHARDSON p/k/a DELRAY                   Case No. CV12-7925 ABC (SHx)
      d/b/a DEL FUNK BOY MUSIC, an individual,         Honorable Audrey B. Collins
   12 and STERLING A. SYNDER d/b/a/ ZION
      RECORDS, an individual,                          ANSWER TO COUNTS I - III
   13                                                  OF THE COMPLAINT AND
                       Plaintiffs,                     DEMAND FOR JURY TRIAL
   14 vs.

   15 CBS STUDIOS, INC., d/b/a CBS TELEVISION
      DISTRIBUTION, a division of CBS CORPORATION,
   16 a Delaware corporation,

   17                   Defendants.
        __________________________________/
   18

   19        Defendant CBS STUDIOS INC. (“CBS”) hereby answers Counts I through III of

   20 the Complaint, which are the Counts remaining after the Court dismissed Counts IV

   21 through VIII upon Defendant’s motion.

   22                                   NATURE OF ACTION

   23        1.     Answering Paragraph 1, CBS admits that this is a civil action for copyright

   24 infringement, but denies that there are any “other related causes of action” in the

   25 Complaint since the Court granted Defendant’s Motion to Dismiss Counts IV through

   26

   27                                  -1-
      _____________________________________________________________________
   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
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    1 VIII of the Complaint.

    2                                         THE PARTIES

    3         2.     Answering Paragraphs 2 and 3, CBS denies the allegations on the basis

    4 of lack of information or belief.

    5         3.     CBS admits the allegations contained in Paragraph 4.

    6                                JURISDICTION AND VENUE

    7         4.     Answering Paragraph 5, CBS admits that federal jurisdiction exists as to

    8 the copyright claims. CBS denies that any state law claims are stated such that

    9 supplemental jurisdiction is required or exists.

   10         5.     Answering Paragraphs 6 and 7, CBS admits that venue in this district is

   11 proper and that this Court has personal jurisdiction over Defendant. CBS denies all

   12 other allegations of such paragraphs.

   13         6.     Answering Paragraph 8, CBS denies, generally and specifically, each and

   14 every allegation contained therein.

   15                                     FACTUAL BACKGROUND

   16         7.     Answering Paragraphs 9 and 10, CBS denies the allegations therein on

   17 the basis of lack of information or belief.

   18         8.     Answering Paragraph 11, CBS admits that its programs are broadcast on

   19 network television.

   20         9.     Answering Paragraphs 12 through 18, CBS denies, generally and

   21 specifically, each and every allegation contained therein.

   22         10.    Answering Paragraph 19, CBS denies the allegations on the basis of lack

   23 of information or belief.

   24         11.    Answering Paragraphs 20 through 32, CBS denies, generally and

   25 specifically, each and every allegation contained therein.

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      _____________________________________________________________________
   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
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    1                                          COUNT I

    2         12.    Answering Paragraph 33, CBS repeats and incorporates herein by

    3 reference, the admissions and denials made in response to Paragraphs 1 through 32.

    4         13.    Answering Paragraph 34 through 45, CBS denies, generally and

    5 specifically, each and every allegation contained therein.

    6                                          COUNT II

    7         14.    Answering Paragraph 46, CBS repeats and incorporates herein by

    8 reference, the admissions and denials made in response to Paragraphs 1 through 32.

    9         15.    Answering Paragraphs 47 through 54, CBS denies, generally and

   10 specifically, each and every allegation contained therein.

   11                                          COUNT III

   12         16.    Answering Paragraph 55, CBS repeats and incorporates herein by

   13 reference, the admissions and denials made in response to Paragraphs 1 through 32.

   14         17.    Answering Paragraphs 56 through 63, CBS denies, generally and

   15 specifically, each and every allegation contained therein.

   16                              FIRST AFFIRMATIVE DEFENSE

   17         1.     For a separate and affirmative defense to each cause of action, CBS

   18 alleges that none of the causes of action allege sufficient facts to state a claim for which

   19 relief can be granted because Plaintiff Delray Richardson is not the sole copyright

   20 holder (if he has any interest whatsoever) in the “Musical Compositions and Sound

   21 Recordings” and Plaintiff Sterling A. Snyder has no standing to assert a claim for

   22 copyright infringement.

   23                            SECOND AFFIRMATIVE DEFENSE

   24         2.     For a separate and affirmative defense to each cause of action, CBS

   25 alleges that the entire claim is barred by 17 U.S.C., §507(b).

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      _____________________________________________________________________
   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
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    1                              THIRD AFFIRMATIVE DEFENSE

    2        3.      For a separate and affirmative defense to each cause of action, CBS

    3 alleges that it obtained and paid for valid licenses to use the allegedly infringing

    4 material.

    5        WHEREFORE, Defendant prays for relief as follows:

    6        1.      That Plaintiff take nothing by his action;

    7        2.      For costs incurred herein, including reasonable attorneys’ fees as

    8 provided under 17 U.S.C. §505; and

    9        3.      For such other relief as the Court may deem just and proper.

   10        Dated: December 13, 2012

   11                              LAW OFFICES OF ROBERT S. BESSER

   12
                                   By: /s/ Robert S. Besser
   13                              ROBERT S. BESSER
                                   Attorneys for Defendant CBS STUDIOS INC.
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   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
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    1                             DEMAND FOR JURY TRIAL

    2       Defendant CBS Studios Inc. hereby demands a jury trial in the above matter.

    3
            Dated: December 13, 2012
    4
                               LAW OFFICES OF ROBERT S. BESSER
    5

    6                          By: /s/ Robert S. Besser
                               ROBERT S. BESSER
    7                          Attorneys for Defendant CBS STUDIOS INC.

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   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
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    1                                CERTIFICATE OF SERVICE

    2 STATE OF CALIFORNIA:

    3 COUNTY OF LOS ANGELES:

    4        I am employed by a member of the Bar of the State of California in Los Angeles
      County, State of California. I am over the age of 18 and not a party to the within action.
    5 My business address is 1221 Second Street, Suite 300, Santa Monica, California
      90401.
    6
             On this date, I served the foregoing document described ANSWER TO COUNTS
    7 I THROUGH III OF THE COMPLAINT AND DEMAND FOR JURY TRIAL on all
      interested parties in this action by:
    8
      [XX] BY MAIL: placing a true and correct copy thereof enclosed in a sealed envelope
    9 with postage fully pre-paid and addressed as follows:

   10                               Delray Richardson, In Pro Per
                                    Sterling A. Snyder, In Pro Per
   11                                2191 East 21st Street Box K
                                        Signal Hill, CA 90755
   12                                       (323) 440 0855

   13
             I am “readily familiar” with the firm’s collection and processing of correspondence
   14 for mailing. Under that practice it is deposited with the U.S. Postal Service on the same
      day, with postage fully prepaid, at Santa Monica, California. I am aware that on motion
   15 of the party served, service is presumed invalid if the postal cancellation date or
      postage meter date is more than one day after the date of deposit stated in this
   16 affidavit.

   17        I declare under penalty of perjury under the laws of the State of California that
      the foregoing is true and correct. Executed on December 13, 2012, at Santa Monica,
   18 California.
                                                 /s/ Robin Sanders
   19                                                  Robin Sanders

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      _____________________________________________________________________
   28            ANSWER TO COUNTS I through III OF THE COMPLAINT
